        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 1 of 23




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                               Civil No. 22-1421 (NEB/JFD)

MARTIN JAMES TIRRELL,

              Petitioner,                        RESPONSE TO PETITION FOR
                                                 WRIT OF HABEAS CORPUS
       v.                                        PURSUANT TO 28 U.S.C. § 2241

B. EISCHEN, FPC-Duluth Warden,

              Respondent.

                                   INTRODUCTION

       Petitioner Martin Tirrell (“Tirrell”) brings this 28 U.S.C. § 2241 habeas petition,

seeking to have the U.S. Bureau of Prisons (“BOP” or “Bureau”) calculate and immediately

apply the First Step Act time credits (“FTCs”) he has earned and his full good conduct time

(“GCT”) credits to his sentence computation, including to his percent of statutory term

served. The petition should be dismissed for several reasons. Among these, Tirrell failed

to exhaust his administrative remedies, his request to have his FTCs calculated is moot, his

request to have his FTCs immediately applied to his sentence computation and percent of

statutory term served is premature, and his requests to have his full GCT credits

immediately credited and applied to his sentence computation and percent of statutory term

served are moot and premature.

                                     BACKGROUND

I.     Tirrell Is a Federal Prisoner in the State of Minnesota.

       Tirrell, Register No. 19011-030, is incarcerated at the Federal Prison Camp at

Duluth, Minnesota (“FPC Duluth”). See Winger Decl. ¶ 2, Ex. A at 1. He is serving a 41-
                                        1
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 2 of 23




month term of imprisonment for mail fraud, in violation of 18 U.S.C. § 1341. Id. ¶ 3, Ex.

A at 2. Tirrell’s projected statutory release date is December 30, 2023, via a good conduct

time release, but with the FTCs he has earned to date, he would have a projected release

date of August 2, 2023. Id., Ex. A at 3.

II.    The First Step Act’s Provisions Regarding Earned Time Credits

       The First Step Act (“FSA”) (P.L. 115-391), enacted into law on December 21, 2018,

addresses reentry of the incarcerated, directing the Federal Bureau of Prisons to take

specific actions regarding programming and programming incentives, good-time credit,

and compassionate release, among other issues.             Regarding programming and

programming incentives, Congress directed the Attorney General to develop a risk and

needs assessment system no later than 210 days after the enactment of the FSA, i.e., July

19, 2019. 18 U.S.C. § 3632(a). The risk tool is to be used by the BOP to determine the

recidivism risk and classify each inmate as having a minimum, low, medium, or high risk

of recidivism. Id. § 3632(a)(1). The criminogenic needs assessment tool is to be used by

the BOP to determine the type of evidence-based recidivism reduction (“EBRR”)

programming appropriate for each inmate. Id. § 3632(a)(3). Congress created a system of

“time credits” and other incentives to encourage inmates to participate in programming.

Id. § 3632(d).

       A.        The Risk and Needs Assessment Tool

       On July 19, 2019, the Attorney General announced the Prisoner Assessment Tool

Targeting Estimated Risk and Needs (“PATTERN”), which had been developed consistent

with the FSA. See U.S. Dep’t of Justice, “The First Step Act of 2018: Risk and Needs
                                            2
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 3 of 23




Assessment     System,”    at   iv   (“Risk       and   Needs   Report”),     available   at

https://www.bop.gov/inmates/fsa/docs/the-first-step-act-of-2018-risk-and-needs-

assessment-system.pdf. The tool has been, and will continue to be, updated. See U.S.

Dep’t of Justice, “The First Step Act of 2018: Risk and Needs Assessment System –

UPDATE,” dated January 2020 (“Risk and Needs Updated Report”), available at

https://www.bop.gov/inmates/fsa/docs/the-first-step-act-of-2018-risk-and-needs-

assessment-system-updated.pdf; U.S. Dep’t of Justice, “First Step Act Annual Report,”

dated April 2022, available at https://www.bop.gov/inmates/fsa/docs/First-Step-Act-

Annual-Report-April-2022.pdf. In addition to assessing an inmate’s risk of recidivism,

PATTERN also assesses the risk of violent or serious misconduct. 18 U.S.C. § 3632(a)(3).

       The PATTERN tool assigns point values based on the following inmate

characteristics: (1) current age; (2) sex offender status (“Walsh w/ Conviction”) for male

inmates; (3) whether the inmate has a violent offense; (4) criminal history points from the

presentence investigation report; (5) history of escape; (6) history of violence; (7) whether

the inmate has a high school diploma or GED or is working towards a GED; (8) whether

drug programming is needed and, if so, what programming has been completed; (9) number

of incident reports; (10) number of serious incident reports; (11) time since last incident

report; (12) time since last serious incident report; (13) whether the inmate is refusing to

participate in the Inmate Financial Responsibility Program; (14) number of programs

completed; and (15) number of work programs. See Risk and Needs Updated Report at 39-

41 Appendix II. Each level of recidivism risk is assigned a range of total points, and the

range depends on gender and whether the inmate was convicted of a violent offense. See
                                              3
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 4 of 23




Risk and Needs Report at 58, Table 4. A PATTERN score is not designed to be static;

inmates are periodically reassessed. 18 U.S.C. § 3632(a)(4).

       While the PATTERN score is determined by Unit Team staff, an inmate’s

criminogenic needs are assessed by staff with subject matter expertise in the need area,

such as Education, Health Services, Psychology Services, and the Unit Team. See Winger

Ex. C at 2-4. These criminogenic need areas include: (1) Anger/Hostility; (2) Antisocial

Peers; (3) Cognitions; (4) Education; (5) Dyslexia; (6) Family/Parenting; (8)

Finance/Poverty; (9) Medical; (10) Mental Health; (11) Recreation/Leisure/Fitness; (12)

Trauma; and (13) Work. Winger Decl. ¶ 6, Ex. C at 2. The needs are dynamic factors

which can change over time. Id. Need areas are determined based on a review of the

inmate’s pre-sentence investigation report, education records, and medical records. Id. ¶ 7,

Ex. C at 3. Several needs are determined based on the inmate’s completion of standardized

assessment   instruments,    such   as   the       Brief   Anger   Aggression   Questionnaire

(anger/hostility), Measures of Criminal Attitudes and Associates (antisocial peers and

cognitions), and the Family Assessment Device Version 12 (family/parenting). Id. If an

inmate does not complete the standardized instruments, the need areas are marked “refuse.”

Id., Ex. C at 2. An inmate’s specific needs are tracked in the BOP’s SENTRY inmate

management system. Winger Ex. C at 2. Once BOP staff have determined an inmate’s

needs, they are to assign inmates to EBRR programming or productive activities based on

those needs. Id.; 18 U.S.C. § 3621(h)(1)(A).




                                               4
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 5 of 23




      B.     Evidence-Based Recidivism Reduction (EBRR) Programming
             and Productive Activities

      Congress established definitions of EBRR programs and productive activities.

Under the First Step Act, an EBRR program is specifically defined as:

      either a group or individual activity that—

      (A)    has been shown by empirical evidence to reduce recidivism or is based
             on research indicating that it is likely to be effective in reducing
             recidivism;

      (B)    is designed to help prisoners succeed in their communities upon
             release from prison; and

      (C)    may include—

             (i)    social learning and communication, interpersonal, anti-
                    bullying, rejection response, and other life skills;
             (ii)   family relationship building, structured parent-child
                    interaction, and parenting skills;
             (iii) classes on morals or ethics;
             (iv) academic classes;
             (v)    cognitive behavioral treatment;
             (vi) mentoring;
             (vii) substance abuse treatment;
             (viii) vocational training;
             (ix) faith-based classes or services;
             (x)    civic engagement and reintegrative community services;
             (xi) a prison job, including through a prison work program;
             (xii) victim impact classes or other restorative justice programs; and
             (xiii) trauma counseling and trauma-informed support programs.

18 U.S.C. § 3635(3); see also 28 C.F.R. § 523.41(a). A “productive activity” is “either a

group or individual activity that is designed to allow prisoners determined as having a

minimum or low risk of recidivating to remain productive, and thereby maintain a

minimum or low risk of recidivating, and may include the delivery of the programs



                                            5
          CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 6 of 23




described in paragraph (1) 1 to other prisoners.” 18 U.S.C. § 3635(5); see also 28 C.F.R.

§ 523.41(b).

         C.     Incentives for Participation in EBRR Programming and
                Productive Activities

         In creating the risk and needs system, Congress included incentives in the system to

encourage inmate participation in assigned EBRR programming and productive activities.

See 18 U.S.C. § 3632(a) (indicating the “risk and needs assessment system” is referred to

as the “System”); 18 U.S.C. § 3632(d) (indicating what “incentives and rewards for

prisoners to participate in a complete evidence-based recidivism reduction program” the

System “shall provide”).       Incentives range from increased telephone and visitation

privileges, see 18 U.S.C. § 3632(d)(1), to facility transfers, see 18 U.S.C. § 3632(d)(2), to

First Step Act “time credits” (FTCs):

         (A) In general.--A prisoner, except for an ineligible prisoner under
         subparagraph (D), who successfully completes evidence-based recidivism
         reduction programming or productive activities, shall earn time credits as
         follows:

                (i)    A prisoner shall earn 10 days of time credits for every 30
                days of successful participation in evidence-based recidivism
                reduction programming or productive activities.

                (ii)   A prisoner determined by the Bureau of Prisons to be at a
                minimum or low risk for recidivating, who, over 2 consecutive
                assessments, has not increased their risk of recidivism, shall earn
                an additional 5 days of time credits for every 30 days of successful
                participation in evidence-based recidivism reduction programming
                or productive activities.

18 U.S.C. § 3632(d)(4)(A).


1
    Referring to 18 U.S.C. § 3635(1), which defines dyslexia.
                                              6
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 7 of 23




       D.      Earning and Applying Time Credits

       In order to earn FTCs, the inmate must be “successfully participating” in EBRR

programs or productive activities. 28 C.F.R § 523.41(c)(1). “Successful participation” is

when the inmate (1) has participated in an EBRR program or productive activity based on

the inmate’s risk and needs assessment, and (2) complies with the requirements for that

EBRR program or productive activity. 28 C.F.R. § 523.41(c)(2). Temporary interruptions

that prevent the inmate from participating in the EBRR program or productive activity will

ordinarily     not   affect   the   inmate’s       “successful   participation.”   28   C.F.R.

§ 523.41(c)(3).      However, the following situations can indicate the inmate is not

“successfully participating”:

       (i)     Placement in a Special Housing Unit;

       (ii)    Designation status outside the institution (e.g., for extended medical
               placement in a hospital or outside institution, an escorted trip, a
               furlough, etc.);

       (iii)   Temporary transfer to the custody of another Federal or non-Federal
               government agency (e.g., on state or Federal writ, transfer to state
               custody for service of sentence, etc.);

       (iv)    Placement in mental health/psychiatric holds; or

       (v)     “Opting out” (choosing not to participate in the EBRR programs or
               PAs that the Bureau has recommended based on the inmate’s
               individualized risk and needs assessment).

28 C.F.R. § 523.41(c)(4).

       Congress indicated inmates may not earn FTCs for EBRR programs or productive

activities they successfully completed “prior to the date of enactment of this subchapter,”

18 U.S.C. § 3632(d)(4)(B), which the BOP has determined is December 21, 2018, the date
                                               7
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 8 of 23




of enactment of the First Step Act, see 28 C.F.R. § 523.42(b)(1). Because the BOP was

not equipped to administratively track inmates’ participation in EBRR programs or

productive activities in relation to their assessed needs, eligible inmates may earn FTCs for

any programming and activities in which they participated from December 21, 2018, until

January 14, 2020. See 28 C.F.R. § 523.42(b)(2); see also Bureau of Prisons, “FSA Time

Credits,” 87 Fed. Reg. 2705, 2708 (Jan. 19, 2022).       On or after January 15, 2020, an

eligible inmate may earn FTCs for successful participation in EBRR programs and

productive activities recommended by BOP staff based on their individual needs. 28

C.F.R. § 523.42(b)(3). FTCs will be earned for “every thirty-day period that an eligible

inmate has successfully participated” in EBRR programs or productive activities. 28

C.F.R. § 523.42(c). The BOP abandoned its proposed rule that inmates would be required

to complete eight hours of programming to establish a day of programming. See 87 Fed.

Reg. at 2706-07.

       Congress included a series of limitations on when FTCs could be earned, who could

earn FTCs, who could “apply” FTCs, and under what circumstances FTCs could be

reduced. First, inmates may not earn FTCs for EBRR programs or productive activities

they successfully completed prior to the commencement of their sentence. 18 U.S.C.

§ 3632(d)(4)(B); 28 C.F.R. § 523.42(a). Second, Congress precluded inmates from earning

FTCs if they were serving sentences for one of many enumerated crimes. 18 U.S.C.

§ 3632(d)(4)(D). Third, while deportable aliens appear to be eligible to earn FTCs, they

cannot “apply,” or claim, their FTCs. Id. § 3632(d)(4)(E). Fourth, the BOP was directed

to develop guidelines for the loss of FTCs for disciplinary violations and for their
                                             8
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 9 of 23




subsequent restoration. Id. § 3632(e); 28 C.F.R. §§ 523.43, 541.3, Table 1.

      FTCs “shall be applied toward time in prerelease custody or supervised release.” 18

U.S.C. §§ 3632(d)(4)(C), 3624(g); 28 C.F.R. § 523.44(b)-(d). Under 18 U.S.C. § 3624(g),

an inmate eligible to apply their FTCs is someone who:

      (A)    has earned time credits under the risk and needs assessment system
             . . . in an amount that is equal to the remainder of the prisoner’s
             imposed term of imprisonment;

      (B)    has shown through the periodic risk reassessments a demonstrated
             recidivism risk reduction or has maintained a minimum or low
             recidivism risk, during the prisoner’s term of imprisonment;

      (C)    has had the remainder of the prisoner’s imposed term of imprisonment
             computed under applicable law; and

      (D)    (i) in the case of a prisoner being placed in prerelease custody, the
             prisoner--

                   (I)    has been determined under the System to be a
                          minimum or low risk to recidivate pursuant to
                          the last 2 reassessments of the prisoner; or

                   (II)   has had a petition to be transferred to prerelease
                          custody or supervised release approved by the
                          warden of the prison, after the warden’s
                          determination that--

                          (aa)   the prisoner would not be a danger to
                                 society if transferred to prerelease
                                 custody or supervised release;

                          (bb)   the prisoner has made a good faith
                                 effort to lower their recidivism risk
                                 through participation in recidivism
                                 reduction programs or productive
                                 activities; and

                          (cc)   the prisoner is unlikely to recidivate;
                                 or
                                            9
       CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 10 of 23




              (ii)   in the case of a prisoner being placed in supervised release,
                     the prisoner has been determined under the System to be a
                     minimum or low risk to recidivate pursuant to the last
                     reassessment of the prisoner.

18 U.S.C. § 3624(g)(1); 28 C.F.R. § 523.43(b)-(d). Placement on pre-release custody

includes either placement at a residential reentry center (“RRC”) or home confinement for

the amount of FTCs earned, see 18 U.S.C. § 3624(g)(2), and any time limits on the length

of a pre-release placement are waived, 2 see id. § 3624(g)(1). If the inmate has a term of

supervised release imposed as part of their sentence, “the Director of the Bureau of Prisons

may transfer the prisoner to begin any such term of supervised release at an earlier date,

not to exceed 12 months.” Id. (emphasis added); see 28 C.F.R. § 523.44(d).

III.   Tirrell’s First Step Act Time Credits

       Tirrell is eligible to earn FTCs under 18 U.S.C. § 3632(d). Winger Decl. ¶ 4, Ex.

B. He has been scored a Minimum on the PATTERN Risk Tool since his first assessment

in February 2021. Id. ¶ 5, Ex. B. His current FSA needs are as follows:

       Anger/Hostility – No                             Medical – No
       Antisocial Peers – No                            Mental Health – No
       Cognitions – No                                  Recreation/Leisure/Fitness – No
       Dyslexia – No                                    Substance Abuse – Yes
       Education – No                                   Trauma – No
       Family/Parenting – Yes                           Work – Yes
       Finance/Poverty – Yes




2
 See 18 U.S.C. § 3624(c)(1) (limiting pre-release placement in an RRC to 12 months); see
also 18 U.S.C. § 3624(c)(2) (limiting pre-release placement on home confinement to the
shorter of 10 percent of the term of imprisonment or 6 months).
                                            10
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 11 of 23




Winger Decl. ¶ 8, Ex. B at 1. Tirrell is currently on the waiting list for, participating in, or

has completed the following EBRR programs and productive activities: Money Smart,

Inside Out Dad, National Parenting Program, and Drug Education. Id. ¶ 9, Exs. D, E, F.

       The BOP is in the process of incorporating FTC tracking capabilities into SENTRY

and updating sentencing computations. Id. ¶ 10. The BOP’s current focus is updating

sentence computations for inmates closest to their release dates, like Tirrell, and the BOP

will then move on to inmates with later release dates. Id. The BOP’s Central Office has

determined that Tirrell has earned approximately 150 days of FTCs as of July 13, 2022. 3

Id. ¶ 11. Tirrell’s sentence computation has been updated to reflect the 150 days of FTC

he has earned. Id., Ex. A at 3. Regardless of whether FTCs are incorporated into SENTRY

and reflected on a sentence computation, FTCs do not change the “percent of statutory term

served” on an inmate’s sentence computation. Id.

IV.    Good Conduct Time under the First Step Act

       As amended by the First Step Act of 2018, 18 U.S.C. § 3624 provides the following

method for calculating GCT:

       [A] prisoner who is serving a term of imprisonment of more than 1 year other
       than a term of imprisonment for the duration of the prisoner’s life, may
       receive credit toward the service of the prisoner’s sentence of up to 54 days
       for each year of the prisoner’s sentence imposed by the court, subject to
       determination by the Bureau of Prisons that, during that year, the prisoner
       has displayed exemplary compliance with institutional disciplinary
       regulations.




3
 This total may change when the SENTRY TC calculation function is activated. Winger
Decl. ¶ 11.

                                              11
       CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 12 of 23




18 U.S.C. § 3624(b)(1) (emphasis added). GCT vests on the date of the inmate’s release

from custody. 18 U.S.C. § 3624(b)(2).

V.     Tirrell’s Sentence Computation and GCT under the First Step Act

       The BOP recently completed a comprehensive audit of Tirrell’s sentence

computation. Colston Decl. ¶¶ 5-22. The computation commences his 41-month federal

sentence on February 26, 2021, the date he voluntarily surrendered to his designated

facility. Id. ¶ 18, Ex. A at 3, Ex. G at 2-3. He received a total of 24 days of prior custody

credit, from February 13, 2019, through February 21, 2019, and from February 13, 2020,

through February 27, 2020. Id. ¶ 19, Ex. A at 3, Ex. G at 4.

       Tirrell is earning 54 days of GCT for each year of his term of imprisonment and, as

of June 6, 2022, is projected to earn a total of 184 days of GCT on his 41-month sentence

before his release. Id. ¶ 20, Ex. A at 3. With his projected 184 days of GCT taken into

account, Tirrell has served 46.1 percent of his statutory term. Id. His projected statutory

release date is December 30, 2023, via a good conduct time release. 4 Id. Tirrell’s GCT

will not become vested until the date of his release. 18 U.S.C. § 3624(b)(2).

VI.    The Bureau’s Administrative Remedy Program

       The Bureau has established a multi-tier administrative remedy program that affords

inmates confined in federal institutions the opportunity to voice any concerns regarding

their confinement, and which provides BOP staff an opportunity to resolve issues internally

prior to an inmate seeking relief through the judicial system. The BOP’s remedy program


4
 With his 150 days of FTCs included, Tirrell’s projected release date is August 2, 2023.
Colston Ex. A at 3.
                                         12
       CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 13 of 23




requires an inmate to: (1) attempt informal resolution of the grievance by submitting a

Request for Informal Resolution form (“BP-8”) to unit staff and, if unsuccessful, file a

formal Request for Administrative Remedy form (“BP-9”) with the Warden within 20 days

of the event triggering the inmate’s complaint; (2) if dissatisfied with the Warden’s

response, appeal to the appropriate Regional Director by filing a Regional Office

Administrative Remedy Appeal form (“BP-10”) within 20 days of the date of the Warden’s

response; and (3) if dissatisfied with the Regional Office’s response, appeal to the Director,

National Inmate Appeals, in the Office of General Counsel by filing a Central Office

Administrative Remedy Appeal form (“BP-11”) within 30 days of the date of the Regional

Office’s response. 28 C.F.R. §§ 542.13 - 542.15. An inmate may not raise an issue in an

appeal that was not raised in a lower-level filing. Id. § 542.15. An inmate is not considered

to have exhausted his administrative remedies until a response is received from the Central

Office, unless the time allotted for its reply is exceeded. Id. §§ 542.15, 542.18.

VII.   Tirrell’s Administrative Remedies

       As of July 13, 2022, Tirrell has filed or attempted to file two administrative remedies

during his incarceration with the BOP. Winger Ex. A at 2. He has not filed any

administrative remedy requests regarding his FTCs or GCT. Winger Decl. ¶ 12, Ex. A.

                                       ARGUMENT

       Tirrell seeks to have the FTCs he has earned calculated and immediately applied to

his sentence computation, including to his percent of statutory term served. See ECF No.

1 at 2, 6-8. He also seeks to have his full GCTs credited and applied to his sentence

computation and percent of statutory term served. Id. at 7-8. The petition should be
                                             13
       CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 14 of 23




dismissed because Tirrell failed to exhaust his administrative remedies and because his

request to have the BOP calculate his FTCs is moot, his request to have his FTCs

immediately applied to his sentence computation and percent of statutory term is

premature, and his requests to have his full GCT credited and applied to his sentence and

percent of statutory term are moot and premature.

I.     The Petition Should Be Dismissed.

       A.     Tirrell’s Petition Should Be Dismissed for Failure to Exhaust
              Administrative Remedies.

       A federal prisoner wishing to challenge an action of the BOP must ordinarily

exhaust administrative remedies before seeking extraordinary relief in a § 2241 petition.

See Mathena v. United States, 577 F.3 943, 946 (8th Cir. 2009) (“A prisoner may bring a

habeas action challenging the BOP’s execution of his sentence only if he first presents his

claim to the BOP.”); United States v. Chappel, 208 F.3d 1069, 1069-70 (8th Cir. 2000) (per

curiam); Willis v. Ciccone, 506 F.2d 1011, 1015 (8th Cir. 1974) (“If grievance procedures

provide an adequate means for impartial review, then a federal prisoner must exhaust

available administrative remedies within the correctional system prior to seeking

extraordinary relief in federal court.”). However, “the exhaustion prerequisite for filing a

28 U.S.C. § 2241 petition is judicially created, not jurisdictional.” Lueth v. Beach, 498

F.3d 795, 797 n.3 (8th Cir. 2007). Because exhaustion is not jurisdictional, courts may




                                            14
       CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 15 of 23




create exceptions to the exhaustion requirement. Frango v. Gonzales, 437 F.3d 726, 728-

29 (8th Cir. 2006).

       In determining whether a prisoner should be required to exhaust administrative

remedies, courts exercise their discretion by “balanc[ing] the interests of the individual in

retaining prompt access to a federal forum against countervailing institutional interests

favoring exhaustion.” McCarthy v. Madigan, 503 U.S. 140, 146 (1992). Exhaustion

protects administrative agency authority and promotes judicial economy. Id. at 144-45.

Habeas petitioners can be excused from exhausting administrative remedies if they can

show that proceeding through the remedy process would be futile and would serve no

useful purpose. Elwood v. Jeter, 386 F.3d 842, 844 n.1 (8th Cir. 2004). However, the

Eighth Circuit Court of Appeals has held that a federal district court may err by considering

the merits of a petition for a writ of habeas corpus when the petitioner “failed to

demonstrate he had” properly exhausted his administrative remedies prior to seeking

habeas corpus relief. United States v. Thompson, 297 F. App’x 561, 562 (8th Cir. 2008)

(per curiam).

       Tirrell claims he spoke with FPC Duluth staff regarding his FTCs and was advised

there was nothing they could do. ECF No. 1 at 3, 8. However, Tirrell failed to file any

formal administrative remedy requests to seek resolution of his concerns and to receive

detailed answers from the BOP’s Regional and Central Offices regarding the FTCs and

GCT he seeks to have applied. See Winger Decl. ¶ 12, see generally Ex. G.

       The administrative remedy process provides the avenue for the BOP to create an

administrative record regarding why Tirrell’s requests to BOP staff to have his FTCs
                                             15
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 16 of 23




calculated and applied may have been denied and gives him an opportunity to argue why

the BOP’s reasons were incorrect. Requiring exhaustion of administrative remedies would

create an administrative record which would aid the Court in reviewing his FTC and GCT

issues in the future, if necessary.

       Exhaustion would not be futile under the circumstances presented in this petition.

Tirrell has sufficient time to exhaust his administrative remedies on his FTC and GCT

issues because his statutory release date is not until December 30, 2023. See Winger Decl.

¶ 3, Ex. A at 1. Tirrell’s petition should be dismissed due his failure to exhaust. See

Elwood, 386 F.3d at 844 n.1; Thompson, 297 F. App’x at 562.

       B.      Tirrell’s Request to Have the BOP Calculate His Time Credits
               Should Be Dismissed as Moot.

       There must be an actual, ongoing case or controversy for a federal court to have

subject-matter jurisdiction. U.S. Const. art. III, § 2; Potter v. Norwest Mortgage, Inc., 329

F.3d 608, 611 (8th Cir. 2003). When the disputed matter has already been resolved, or it

otherwise becomes impossible for the court to grant relief to the party who initiated the

action, a case or controversy becomes moot. Calderon v. Moore, 518 U.S. 149, 150 (1996);

Missouri v. Craig, 163 F.3d 482, 484-85 (8th Cir. 1998). An action must be dismissed

when a case becomes moot, unless the issue is reasonably likely to be raised again between

the parties and is too short in its duration to be fully litigated prior to its cessation. Missouri

v. Craig, 163 F.3d at 484-85 (citing Weinstein v. Bradford, 423 U.S. 147, 149 (1975));

Potter, 329 F.3d at 611. In Ali v. Cangemi, 419 F.3d 722, 724 (8th Cir. 2005), the Eighth

Circuit Court of Appeals discussed two variants of mootness: Article III mootness and


                                                16
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 17 of 23




prudential mootness. Noting that the petitioner’s release could (but did not automatically)

moot the habeas petition in the Article III sense, see Spencer v. Kemna, 523 U.S. 1, 7

(1998), the court still found the case “prudentially moot.” Id. at 724. The Eighth Circuit

found the case prudentially moot due, in part, to its inability to provide an effective remedy

at this time. Id.

       A habeas petition should not be dismissed as moot if any of the following exceptions

applies: “(1) secondary or ‘collateral’ injuries survive after resolution of the primary injury;

(2) the issue is deemed a wrong capable of repetition yet evading review; (3) the defendant

voluntarily ceases an allegedly illegal practice but is free to resume it at any time; or (4) it

is a properly certified class action suit.” Ahmed v. Sessions, No. 16-cv-2124 (DSD/HB),

2017 WL 3267738, at *2 (D. Minn. July 11, 2017) (internal citation omitted), report and

recommendation adopted, 2017 WL 3268176 (July 31, 2017); see also, e.g., Scheper v.

Rios, No. 19-cv-402 (MDJ/ECW), 2020 WL 4060729, at *2-4 (D. Minn. June 5, 2020),

report and recommendation adopted, 2020 WL 4059875 (July 20, 2020).

       Tirrell requests that the Court require the BOP to “implement and credit” his FTCs,

implicitly asking that the BOP be required to calculate the FTCs he has earned. ECF No.

1 at 8. His request to have his FTCs calculated has become moot because the BOP’s

Central Office has determined he has earned 150 days of FTCs as of July 13, 2022. See

Winger Decl. ¶ 11, Ex. A at 3.

       Tirrell will continue to earn FTCs for the remainder of his term of imprisonment.

His FTCs will not be reduced absent a disciplinary infraction. 18 U.S.C. § 3632(e).



                                              17
       CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 18 of 23




       Because the BOP has calculated the FTCs Tirrell has earned as of July 13, 2022,

this issue of the petition has become moot. None of the exceptions to mootness apply.

This portion of the petition should, therefore, be dismissed.

       C.     Tirrell’s Claim That the BOP Is Required to Immediately Apply
              His FSA Time Credits Should Be Dismissed as Premature.

       Under U.S. Const. art. III, federal courts are limited to hearing cases and

controversies. To establish standing, the party seeking relief must establish that it suffered

an actual injury, traceable to the conduct of the adverse party, which is redressable by a

favorable court decision.     One purpose of the standing requirement is to prevent

hypothetical or speculative decisions that afford no true relief. See Pub. Water Supply Dist.

No. 8 v. City of Kearney, 401 F.3d 930, 932 (8th Cir. 2005); Shain v. Veneman, 376 F.3d

815, 817-18 (8th Cir. 2004). A related principle, derived from the constitutional rule of

standing, is that of ripeness. See Minn. PUC v. FCC, 483 F.3d 570, 582-83 (8th Cir. 2007).

Ripeness limits federal courts from considering issues prematurely, particularly where a

court decision has the potential to interfere with the policies of government agencies. See

id. As a general rule, a dispute is not ripe where it depends upon events that may not occur

as anticipated or may not occur at all. See id. The Court should not address hypothetical

or abstract questions, but rather definite and concrete disputes. See Neb. Public Power

Dist. v. MidAmerican Energy Co., 234 F.3d 1032, 1037-38 (8th Cir. 2000).

       Tirrell asks that the Court order the BOP to immediately apply the FTCs he has

earned to his sentence computation and percent of statutory term served. ECF No. 1 at 8.




                                             18
         CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 19 of 23




His claim should be dismissed because it is hypothetical and, therefore, not ripe at this

point.

         The First Step Act explicitly limits Tirrell’s ability to apply his FTCs until the

number of his FTCs is equal to the remainder of his term of imprisonment. See 18 U.S.C.

§ 3624(g)(1)(A). His projected statutory release date is December 30, 2023. See Winger

Decl. ¶ 3, Ex. A at 3. As of July 13, 2022, Tirrell has only earned 150 days of FTCs. See

id. ¶ 11. When Terrell’s total FTCs equal the remainder of time on his sentence, the BOP

will determine if he meets the criteria to transfer to a pre-release RRC or home confinement

placement or to receive an early release. See 18 U.S.C. §§ 3632(d)(4)(C), 3624(g). While

the FTCs Tirrell has earned and continues to earn could afford him additional time in pre-

release custody and potentially advance his release date, up to a maximum of 365 days, the

FTCs he has earned cannot be applied to his sentence at this time because they do not equal

the remainder of his term of imprisonment. See 18 U.S.C. § 3624(g)(1)(A).

         Further, while Tirrell currently has a Minimum PATTERN score, see Winger Decl.

¶ 5, Ex. B at 1, his score could increase between now and when his FTCs equal the

remainder of his sentence, which would impact his ability to apply the FTCs to his

sentence. See 18 U.S.C. § 3624(g)(1)(B), (D)(ii). Finally, between now and when Tirrell

can apply his FTCs, he could be subject to disciplinary action resulting in the loss of FTCs.

See 18 U.S.C. § 3632(e); see also 28 C.F.R. § 523.43; 28 C.F.R. § 541.3, Table 1.

         Tirrell attempts to create a concrete dispute by arguing that FTCs affect the percent

of time served for purposes of qualifying for CARES Act home confinement and the

elderly offender two-thirds date. ECF Doc. 1 at 7. He does not specifically allege he would
                                              19
       CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 20 of 23




be eligible for either of these programs if his FTCs were included in his percent of statutory

time served. See generally id. Moreover, an inmate’s FTCs are not currently part of the

time served component of an inmate’s sentence. See Winger Decl. ¶ 11. As previously

mentioned, the application of FTCs is too speculative at this point to consider them as part

of the percent of time served because Tirrell’s ability to claim FTCs depends on his

PATTERN score at a later date and any disciplinary actions.

       All of these possibilities render Tirrell’s claim that his FTCs should be immediately

applied to his sentence and percent of term served as purely speculative at this juncture.

This claim should, therefore, be dismissed as premature.

       D.     Tirrell’s Good Conduct Time Credit Claims Should Be Dismissed
              as Moot and Premature.

       Tirrell argues the BOP has unlawfully failed to credit his full 184 days of GCT to

his percent of statutory term served. ECF No. 1 at 7-8. His claim should be dismissed as

moot because the 184 days of GTC he is projected to earn by his release date is included

in his percent of statutory term served. He also argues the BOP is unlawfully not

“applying” his full 184 days of GCT to his sentence computation and percent of statutory

term served. ECF No. 1 at 7-8. This claim should be dismissed as premature because his

GCT does not vest until the date of his release.

       Under the First Step Act’s amended 18 U.S.C. § 3624(b)(1), GCT is applied as a

credit of up to 54 days at the end of each year of the prisoner’s term of imprisonment,

beginning at the end of the first year of the term, subject to a determination by the BOP

that, during that year, the prisoner has displayed exemplary compliance with institutional


                                             20
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 21 of 23




regulations. See Colston Decl. ¶ 16; 18 U.S.C. § 3624(b)(1). GCT vests on the date of the

inmate’s release date. See Colston Decl. ¶ 16; 18 U.S.C. § 3624(b)(2).

       GCT is tracked on an inmate’s sentence computation as “Total GCT Earned” and

“Total GCT Earned and Projected.” See Colston Decl. ¶ 17. The “Total GCT Earned”

represents the actual amount of GCT the inmate has earned as of the date the sentence

computation is run in SENTRY. Id. The “Total GCT Earned and Projected” amount

represents the total possible amount of GCT the inmate can earn on his sentence, less any

GCT he has lost as the result of disciplinary sanctions. Id. This projection is taken into

account in setting the “Statutory Release Date Projected” and in the “Percent of Statutory

Term Served.” Id.

       The BOP has calculated Tirrell’s projected GCT consistent with the current version

of § 3624(b)(1). His 41-month federal sentence commenced on February 26, 2021. See

Colston Decl. ¶ 18, Ex. A at 3. He received a total of 24 days of prior custody credit. See

id. ¶ 19, Ex. A at 3. Tirrell is earning up to 54 days of GCT each year, and his sentence

computation indicates he is projected to earn a total of 184 days of GCT prior to his release.

See id. ¶ 20, Ex. A at 3.

       Tirrell’s projected 184 days of GCT are included in calculating his “Percent of

Statutory Term Served,” and he has served 46.1 percent of his statutory term as of June 6,

2022. See id. ¶¶ 17, 20, Ex. A at 3. Because the BOP has included all of Tirrell’s projected

184 days of GCT in his “Percent of Statutory Term Served,” as he requests, this issue of

the petition should be dismissed as moot. See Potter, 329 F.3d at 611. None of the

exceptions to mootness apply.
                                             21
        CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 22 of 23




       However, Tirrell’s claim that his full GTC credits should be immediately “applied”

to his sentence and percent of term served, see ECF No. 1 at 7-8, is purely speculative at

this juncture. Because Tirrell has not yet been released, his GCT cannot be vested. See 18

U.S.C. § 3624(b)(2). This claim should, therefore, be dismissed as premature.

II.    An Evidentiary Hearing is Unnecessary Because the Matter May Be Resolved
       on the Record.

       A petitioner is not entitled to an evidentiary hearing if the petitioner’s allegations

are frivolous, where the relevant facts are not in dispute, or where the dispute can be

resolved on the basis of the record. Wallace v. Lockhart, 701 F.2d 719, 729-30 (8th Cir.

1983). In a habeas corpus proceeding, an evidentiary hearing is appropriate only where

material facts are in dispute. Toney v. Gammon, 79 F.3d 693, 697 (8th Cir. 1996); Ruiz v.

Norris, 71 F.3d 1404, 1406 (8th Cir. 1995). An evidentiary hearing is not required where

the question is what conclusion can properly be drawn from the undisputed facts. See id.;

see also United States v. Winters, 411 F.3d 967, 973 (8th Cir. 2005).

       Respondent has provided sufficient facts based on the declarations and exhibits filed

in this case. An evidentiary hearing is unnecessary because this matter can be resolved on

the basis of the record.




                                             22
       CASE 0:22-cv-01421-NEB-JFD Doc. 10 Filed 07/27/22 Page 23 of 23




                                    CONCLUSION

      The petition should be dismissed because Tirrell failed to exhaust his administrative

remedies and because his request to have the BOP calculate his FTCs is moot, his request

to have his FTCs applied to his sentence computation and percent of statutory term is

premature, his request to have his full projected GCT credited to his percent of statutory

term served is moot, and his request to have his full projected GCT immediately applied to

his sentence and percent of statutory term served is premature.

                                                 Respectfully submitted,

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                                            23
